                      IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF TENNESSEE AT COOKEVILLE

BECKY A. SELBY,                                      )
                                                     )
                Plaintiff/Counter-Defendant,         )
                                                     )      2:20-CV-00016
v.                                                   )
                                                     )      Chief Judge Crenshaw
HOLLY T. SCHROEDER,                                  )      Magistrate Judge Newbern
                                                     )
                Defendant/Counter-Plaintiff.         )

                                TRIAL BREIF RE: DAMAGES

         Comes now, the Plaintiff/Counter-Defendant, Becky A. Selby (“Ms. Selby”), through

undersigned counsel, and pursuant to this Court’s Order entered February 15, 2022 (D.E. No. 202;

PageID #: 1772), files this Trial Brief as to damages.

         I.     Selby Defamation—Tennessee

         This Court is certainly well aware of Tennessee law on defamation, as demonstrated by its

own fairly recent and well-reasoned opinion in Finley v. Kelly, 384 F.Supp.3d 898 (M.D. Tenn.

2019), the Honorable Waverly D. Crenshaw, Jr., Chief Judge, presiding. Should the jury find in

favor of Ms. Selby on her defamation claim regarding Ms. Schroeder’s defamatory publications to

TWHBEA, she is entitled to compensatory damages under Tennessee law. The parties have

stipulated that the defamation claim regarding statements made by Ms. Schroeder to TWHBEA is

controlled by Tennessee substantive law. (D.E. No. 194; PageID #: 1654, -55.)

         In Tennessee, compensatory damages for defamation include whatever amount the jury

finds will fairly and adequately compensate Ms. Selby for the losses she has suffered. The

following damages are recoverable for Ms. Selby’s Tennessee defamation claim:

                Economic losses;

                Compensation for any injury to her reputation; and




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                  Compensation for any emotional distress she has suffered.

       There is no definite standard or method of calculation prescribed by law for fixing the

reasonable compensation for injury to Ms. Selby’s reputation and emotion distress. No opinion of

any witness is required as to the amount of such reasonable compensation.

       Under Tennessee law, a plaintiff is required to prove actual damages in all defamation

cases. Myers v. Pickering Firm, Inc., 959 S.W.2d 152, 164 (Tenn. Ct. App. 1997) (quoting

Handley v. May, 588 S.W.2d 772, 776 (Tenn. App. 1979)). The actual damage requirement was

discussed by the United States Supreme Court in Gertz v. Robert Welch, Inc., 418 U.S. 323 (1974):

       We need not define “actual injury,” as trial courts have wide experience in framing
       appropriate jury instructions in tort actions. Suffice it to say that actual injury is not
       limited to out-of-pocket loss. Indeed, the more customary types of actual harm
       inflicted by defamatory falsehood include impairment of reputation and standing in
       the community, personal humiliation, and mental anguish and suffering. Of course,
       juries must be limited by appropriate instructions, and all awards must be supported
       by competent evidence concerning the injury, although there need be no evidence
       which assigns an actual dollar value to the injury.

Id. at 349–50.

       The       failure   to   prove   special   damages,   or,   “out-of-pocket”     losses,      is   not

determinative. Handley, 588 S.W.2d at 776. The issue is whether the record contains any material

evidence of impairment of reputation and standing in the community, personal humiliation, or

mental anguish and suffering. Id. The amount of damages assessed depends on the degree of

moral turpitude of the defendant's conduct. Myers, 959 S.W.2d at164 (citing Saunders v.

Baxter, 53 Tenn. (6 Heisk.) 369, 385 (1871)).

       In Moore v. Bailey, 628 S.W.2d 431 (Tenn. App. 1981), this Court considered whether an

award of compensatory and punitive damages for defamation was excessive. Id. at 434. In that

case, the defendant made accusations about the plaintiff, a county environmentalist for the

Tennessee Department of Public Health, to the state inspector general and to the plaintiff's




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supervisor. Id. at 432. The plaintiff sued the defendant for slander, and the jury returned a verdict

in favor of the plaintiff and awarded $1,000.00 in compensatory damages and $5,000.00 in

punitive damages. Id. at 433.

       The defendant appealed the jury verdict, asserting that there was no material evidence to

support the recovery of compensatory or punitive damages. Id. at 434. The Court pointed out that

the plaintiff put on proof from which a jury could find he suffered minimal out-of-pocket loss

because of lost time from work and lost vacation time and incurred expenses in traveling to respond

to the charges made by the defendant. Id. The Court further pointed out the jury could find from

the plaintiff's own testimony that he suffered humiliation and mental anguish as a result of the

defendant's actions. Id. Thus, the Court concluded that there was material evidence to support the

jury awards. Id.

       In McWhorter v. Barre, 132 S.W.3d 354, 366-67 (Tenn. Ct. App. 2003), the Court of

Appeals affirmed a $25,000 verdict on defamation based on the following:

               Plaintiff testified he suffered both embarrassment and stress as a result of
       Defendant's Letter. Plaintiff testified that he gained a lot of weight as a result of the
       stress and that he was no longer a “very laid back, easygoing person.” Plaintiff
       stated that “even though the FAA has cleared me of this, there will always be this
       blemish on my record.” In addition, Plaintiff's wife testified that since he received
       the letter from the FAA grounding him, her husband has been very stressed. She
       stated “[h]e is very preoccupied. He's not the easy, laid back, easygoing type of
       person that he once was when I first met him. He has become emotional at times
       when I've had to caress him.” She also testified that Plaintiff has cried “[a]bout his
       pride that he has for his career,” and [] has expressed concerns about being able to
       take care of his family since he is “the bread winner of the family.”

                Plaintiff further testified that he had a great deal of pride in his career as a
       pilot. Plaintiff testified he felt “very embarrassed” having to tell his employers that
       the FAA had grounded him and that they would have to cancel a flight scheduled
       for the next day. Plaintiff also testified it was “very embarrassing” for him to have
       to tell his fellow pilots he had been grounded. Plaintiff testified that the community
       of pilots is “very close knit” and that they “rely on one another” to gain information
       about other pilot's records. Plaintiff stated “if you fly anywhere in this region, in
       the Southeast region, everybody knows everyone. We've all been recycled to one




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       degree or another in this industry and we all know one another.” Plaintiff testified
       that his “reputation as a professional pilot has been tarnished.”

               Mr. Cole, Covenant's current co-pilot, testified that as a result of
       Defendant's Letter, Plaintiff is less marketable than Mr. Cole, even though Plaintiff
       is a chief pilot and Mr. Cole is only a co-pilot. Mr. Bryson, a fellow pilot, testified
       that the fact that Plaintiff now has this Letter in his file would “throw up a red flag”
       for future employers. Mr. Bryson also testified that Plaintiff is not as marketable as
       a pilot who has no such allegations in his record.

               The record contains material evidence that Plaintiff's reputation and
       standing in the community of pilots has been impaired and that Plaintiff has
       suffered personal humiliation as a result of having to disclose the fact that the FAA
       grounded him and the allegations in the Letter to his employer and to his fellow
       pilots. The evidence also shows that if, in the future, Plaintiff wishes or needs to
       change jobs, the Letter will “throw up a red flag” for future employers. In addition,
       the record contains material evidence that shows Plaintiff has endured mental
       anguish and suffering personally, as shown by his wife's testimony that Plaintiff is
       stressed, has cried, and worries about his ability to support his family.

              Defendant argues that Plaintiff suffered no damages because Plaintiff was
       unable to prove he expended any money as a result of the Letter. Although Plaintiff
       was unable to prove he expended money for such things as his neurological exam
       and long-distance phone calls, “actual injury is not limited to out-of-pocket
       loss.” Myers, 959 S.W.2d 164.

Id.
       In sum, “[w]hen looking at damages for a defamation suit [Tennessee Courts have]

stated that, ‘the issue is whether the record contains any material evidence of impairment

of reputation and standing in the community, personal humiliation, or mental anguish and

suffering.’” Brown v. Christian Bros. Univ., 428 S.W.3d 38, 51 (Tenn. Ct. App. 2013)

(quoting Murray v. Lineberry, 69 S.W.3d 560, 564 (Tenn.Ct.App.2001) (citing Myers, 959

S.W.2d at 164)).

       II.     Defamation—Kentucky

       As stated by Kentucky’s Supreme Court in Hill v. Evans, 258 S.W.2d 917, 918 (Ky. 1953),

if a publication is defamatory per se, damages are presumed and the plaintiff may recover

without alleging or proving special damages. Id. Statements classified as defamatory per se




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include those which attributes to someone a criminal offense, a loathsome disease, serious sexual

misconduct, or conduct which is incompatible with his business, trade, profession, or office.

Gilliam v. Pikeville United Methodist Hosp. of Kentucky, Inc., 215 S.W.3d 56, 61 (Ky. Ct. App.

2006) (citing Restatement (Second) of Torts § 570 (1977)). Store employees were not required to

provide affirmative proof of injury to their reputations in order to recover for alleged defamatory

statements accusing them of theft; false accusation of theft was actionable per se, that is, libelous

or slanderous per se, and for words which were actionable per se, damages were presumed and the

person defamed could recover without allegation or proof of special damages. Stringer v. Wal-

Mart Stores, Inc., 151 S.W.3d 781 (Ky. 2004), reh'g denied, (Jan. 20, 2005).

       There are certain categories of statements that qualify as per se defamation, where there is

a conclusive presumption of both malice and damage and, thus, injury to reputation is

presumed. Estepp v. Johnson County Newspapers, Inc., 578 S.W.3d 740 (Ky. Ct. App. 2019).

       Furthermore, “[a] party is entitled to have the jury instructed on the issue of punitive

damages ‘if there was any evidence to support an award of punitive damages.’” Poole v. Dollar

Gen. Corp., 2005 WL 2323238, at *7 (Ky. Ct. App. Sept. 23, 2005) (quoting Thomas v. Greenview

Hosp., Inc., 127 S.W.3d 663 (Ky. Ct. App. 2004); Shortridge v. Rice, 929 S.W.2d 194, 197 (Ky.

Ct. App. 1996)). An instruction on punitive damages is warranted if there is evidence that the

defendant acted with oppression, fraud, malice, or was grossly negligent by acting with wanton or

reckless disregard for the lives, safety or property of others. See, Phelps v. Louisville Water

Co., 103 S.W.3d 46, 51–52 (Ky. 2003).

       In Poole, the Kentucky Court of Appeals found that “[t]he slanderous statements made by

[defendants] attributed a criminal offense to [plaintiff] and, as such, was slander per se. 2005 WL,

at *7. “[W]hen the defamatory publication is actionable per se there is a conclusive presumption




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of both malice and damage.” Baker v. Clark, 218 S.W. 280 (Ky. 1920); Tucker v. Kilgore, 388

S.W.2d 112, 116 (Ky. 1964). If the jury finds Ms. Schroeder abused her qualified privilege, then

that means Ms. Selby would have proven actual malice, and, as such, there would necessarily be

evidence to support an award of punitive damages, and an instruction on such an award would be

appropriate. See, Pennsylvania Iron Works Co. v. Henry Voght Mach. Co., 96 S.W. 551, 553 (Ky.

1906).

         III.   Fraud—Pennsylvania

         Under Pennsylvania law, in an action based on fraud, the measure of damages is “actual

loss”, Kaufman v. Mellon National Bank & Trust Co., 366 F.2d 326 (3rd Cir.1966), and not the

benefit, or value, of that bargain. Delahanty v. First Pennsylvania Bank, N.A., 464 A.2d 1243,

1257 (Pa. Super. 1983) (citing Savitz v. Weinstein, 149 A.2d 110, 113 (Pa. 1959)). The victim is

entitled to all pecuniary losses which result as a consequence of his reliance on the truth of the

representations. Id.

         The determination of damages is a factual question to be decided by the fact-finder. Hagl

v. Jacob Stern & Sons, Inc., 396 F.Supp. 779 (E.D.Pa.1975). This duty of assessing damages is

within the province of the fact-finder and should not be interfered with unless it clearly appears

that the amount awarded resulted from partiality, caprice, prejudice, corruption or some other

improper influence. Tonik v. Apex Garages, Inc., 442 Pa. 373, 275 A.2d 296 (1971). The fact-

finder must assess the worth of the testimony, by weighing the evidence and determining its

credibility, Simmons v. Mullen, 231 Pa.Super. 199, 331 A.2d 892 (1974), and by accepting or

rejecting the estimates of the damages given by the witnesses. Fierman v. Southeastern

Pennsylvania Transp. Authority, 277 Pa.Super. 252, 419 A.2d 757 (1980).




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       The standard in Pennsylvania civil cases for determining future damages is that the plaintiff

bears the burden of proof by a “preponderance of the evidence.” Greenberg v. McCabe, 453

F.Supp. 765 (E.D.Pa.1978), aff'd. 594 F.2d 854 (3rd Cir.1979); Capitol Life Ins. Co. v. Rosen, 69

F.R.D. 83 (E.D.Pa.1975). Under this criterion, the plaintiff is required to furnish only a reasonable

quantity of information from which the fact-finder may fairly estimate the amount of damages.

Frankel v. U.S., 321 F.Supp. 1331, (E.D.Pa.1970), aff'd. 466 F.2d 1226 (3rd Cir.1972).

       The fact-finder may make a just and reasonable estimate of the damage based on relevant

data, and in such circumstances may act on probable and inferential, as well as upon direct and

positive proof. Rea at 879. Thus, the law does not demand that the estimation of damages be

completely free of all elements of speculation. Taylor v. Paul O. Abbe, Inc., 380 F.Supp. 601

(E.D.Pa.1974) rev'd 516 F.2d 145 (3rd Cir.1975).

       While the trier of fact may not use sheer conjecture as a basis for arriving at a verdict, it

may use a measure of speculation in aiming at a verdict or an award of damages, and an even

greater degree of flexibility is granted in regard to testimony concerning prospective or future

damages, which are at best, not always easy or certain of ascertainment and are to a large extent

based on probabilities and uncertainties. Starlings v. Ski Roundtop Corp., 493 F.Supp. 507

(M.D.Pa.1980). So then, mere uncertainty as to the amount of damages will not bar recovery where

it is clear that the damages were the certain result of the defendant's conduct. Pugh v. Holmes, 486

Pa. 272, 405 A.2d 897 (1979).

       Generally, under Pennsylvania law, damages need not be proved with mathematical

certainty, but only with reasonable certainty, and evidence of damages may consist of probabilities

and inferences. E.C. Ernst, Inc. v. Koppers Co., Inc., 626 F.2d 324 (3rd Cir.1980) on remand 520

F.Supp. 830 (W.D. Pa. 1981).




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       It is only required that the proof afford a reasonable basis from which the fact-finder can

calculate the plaintiff's loss. Myer Feinstein Co. v. DeVincent, 30 A.2d 221 (Pa. Super.

1943); American Air Filter Co., Inc. v. McNichol, 527 F.2d 1297 (3rd Cir. 1975); G.C.S., Inc. v.

Foster Wheeler Corp., 437 F.Supp. 757 (W.D. Pa. 1975).

       Under Pennsylvania law, the right to punitive damages is a “mere incident to a cause of

action.” Hilbert v. Roth, 149 A.2d 648, 652 (Pa. 1959). Awards of punitive damages cannot be

made where no actual damages have been suffered. See, Weider v. Hoffman, 238 F.Supp. 437

(M.D. Pa. 1965). The purpose of punitive damages is two-fold, to punish the wrongdoer and to

deter both him and others from engaging in similar conduct in the future. Chambers v.

Montgomery, 192 A.2d 355 (Pa. 1963); Smith v. Brown, 423 A.2d 743 (Pa. Super. 1980); Esmond

v. Liscio, 224 A.2d 793 (Pa. Super. 1966); Restatement of Torts § 908, Comment (a).

       It is well settled law in Pennsylvania that the decision of whether to award punitive

damages and the amount to be awarded are within the discretion of the fact finder. See Focht v.

Rabada, 217 Pa.Super. 35, 268 A.2d 157 (1970); Restatement of Torts, § 908(2) (1939); See

also King v. Towns, 102 Ga.App. 895, 118 S.E.2d 121 (1961); Leimgruber v. Claridge Associates,

Ltd., 73 N.J. 450, 456, 375 A.2d 652, 655 (1977). Although punitive damages are not a favorite of

the law, Cochetti v. Desmond, 572 F.2d 102 (3rd Cir.1978), they will only be reduced on appeal if

the reviewing court determines that they are excessive under the facts of the individual

case. International Electronics Co. v. N.S.T. Metal Products Co., 370 Pa. 213, 88 A.2d 40 (1952).

       Punitive damages are damages other than compensatory or nominal, “awarded against a

person to punish him for outrageous conduct.” Thus, exemplary damages are proper when the act

which creates actual damages also imports insult or outrage, and is committed with a view to

oppress or is done in contempt of plaintiffs' rights. Golomb v. Korus, 261 Pa.Super. 344, 396 A.2d




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430 (1977); See *130 U.S. ex rel. Motley v. Rundle, 340 F.Supp. 807 (E.D.Pa.1977). Punitive

damages may be given when the act is done with reckless indifference, as well as, bad

motive. Bacica v. Board of Ed. of Sch. Dist. of Erie, 451 F.Supp. 882 (W.D.Pa.1978). Thus, a

court may not award punitive damages merely because a tort has been committed. Additional

evidence must demonstrate wilful, malicious, wanton, reckless or oppressive conduct. Pittsburgh

Outdoor Adv. Co. v. Virginia Manor Apts., Inc., 436 Pa. 350, 353, 260 A.2d 801, 803

(1970); Hughes 349 Pa. at 480, 37 A.2d at 554; See also Franklin Music Co. v. American

Broadcasting Cos., Inc., 616 F.2d 528, 542 (3rd Cir.1979).

        Though this rule seems to require the plaintiff to meet an additional burden, it is difficult

to picture a fact pattern which would support a finding of intentional fraud without providing proof

of “outrageous conduct” to support an award of punitive damages.                Delahanty v. First

Pennsylvania Bank, N.A., 318 Pa. Super. 90, 130, 464 A.2d 1243, 1264 (1983).

        .IV.    Breach of Contract—Pennsylvania

        According to Pennsylvania law, special damages are recoverable for breach of contract

provided those damages fit within the following guidelines:

        Where one party to a contract, without any legal justification, breaches the contract,
        the other party is entitled to recover, unless the contract provides otherwise,
        whatever damages be suffered, provided (1) they were such as would naturally and
        ordinarily result from the breach; or (2) they were reasonably foreseeable and
        within the contemplation of the parties at the time they made the contract, and (3)
        they can be proved with reasonable certainty.

Taylor v. Kaufhold, 368 Pa. 538, 546, 84 A.2d 347 (1951). See also, Universal Computer Systems,

Inc.   v.   Medical    Services    Association   of   Pennsylvania,     474    F.Supp.    472,   479

(M.D.Pa.1979); Restatement of Contracts ss 330, 331.

        The basic concern in awarding damages is to assure that innocent parties are not harmed

as a result of a breach of contract.




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       Generally speaking, the measure of damages applicable in a case
       of breach of contract is that the aggrieved party should be placed as nearly as
       possible in the same position as he would have occupied had there been no breach.
       In other words, he is entitled to be reimbursed for the money actually paid out and
       for all reasonable and proper expenses incurred on the face of the contract.

Harman et ux v. Chambers, 358 Pa. 516, 520-522, 57 A.2d 842 (1948). See also, Corbin,

Contracts, Vol. 5 s 992; Restatement of Contracts s 329.

       Nominal damages are awarded where liability can be shown for a breach of duty or for a

breach of contract, however, the maximum award for nominal damages recoverable in

Pennsylvania is one dollar. Stevenson v. Economy Bank of Ambridge, 413 Pa. 442, 455, 197 A.2d

721 (1964). The majority of cases indicate that nominal damages will be awarded any time a

breach of contract is shown. Rineer v. Collins, 156 Pa. 342, 27 A. 28 (1893); Fessler v. Love, 48

Pa. 407 (1864); Adams Express Co. v. Egbert, 36 Pa. 360 (1860).

                                                    Respectfully submitted,


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                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served upon the
following counsel of record via the Court’s electronic case filing system, this 18th day of
February, 2022.

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                                                  s/ W. Brantley Pierce
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